Case 1:21-cv-00800-RMB-AMD Document 76 Filed 01/11/22 Page 1 of 1 PagelD: 4194

 

 

Parker McCay P.A.
Cc 9000 Midlantic Drive, Suite 300

P.O. Box 5054

 

 

Mount Laurel, New Jersey 08054-5054

P: 856.596.8900
F: 856.596.9631

www.parkermccay.com

John C. Gillespie, Esquire
Direct Fax: 856-489-6980
jgillespie@parkermccay.com

January 11, 2022
File No. 14972-3

Clerk

United States District Court

Mitchell H. Cohen Bldg & U.S. Courthouse
4th & Cooper Streets, Room 1050

Camden, NJ 08101

Re: Affinity Healthcare v. Township of Voorhees, et al
Civil Action No. 1:21-cv-800-RMB-AMD

Dear Sir or Madam:

Please be advised that this Firm represents Defendants, The Township of Voorhees,
Voorhees Township Zoning Board, Township Zoning Officer Jaclyn Bradley, and Voorhees
Township Planning Board, in the above-captioned matter. Plaintiffs, Affinity Healthcare Group
Voorhees, LLC and Dr. Kenneth Brown, have filed a Motion for Summary Judgment returnable
on February 7, 2022.

Defendants’ opposition to said Motion is due on Monday, January 24, 2022. Pursuant to
Local Civil Rule 7.1(d)(5), I am requesting an automatic fourteen (14) day extension to oppose
the Motion.

The new return date will be Tuesday, February 22, 2022. Defendants’ opposition will
now be due on Tuesday, February 8, 2022, and Plaintiffs’ reply will now be due on Tuesday,

February 15, 2022.

   

Very truly yours,

| (AS

JOHN C. GILLESP
JCG/jth
ge: Samuel Reale, Jr., Esquire
Christopher Norman, Esquire
Stuart A. Platt, Esquire

J. Brooks DiDonato, Esquire
4879-7774-0553, v. 1

i

Mount Laurel, New Jersey | Hamilton, New Jersey | Atlantic City, New Jersey | Camden, New Jersey
